                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


DRAFTKINGS INC.,


                                 Plaintiff,

        v.                                                    Civil Action No. 1:24-cv-10299-JEK

MICHAEL HERMALYN

                                 Defendant.


                        [PROPOSED] PRELIMINARY INJUNCTION

        Upon Plaintiff DraftKings Inc.’s (“DraftKings” or the “Company”) Motion for

Preliminary Injunction (the “Motion”), and upon consideration of the Memorandum of Law,

Affidavits, and Exhibits in support of the Motion, the Court hereby FINDS that:

   1.        There is a likelihood of success on the merits for all of DraftKings’ claims in the

             Verified Complaint;

   2.        DraftKings will be irreparably harmed in the absence of a preliminary injunction

             restraining and enjoining Mr. Hermalyn as set forth below and monetary damages

             would provide inadequate relief;

   3.        The balance of equities favors granting a preliminary injunction restraining and

             enjoining Mr. Hermalyn as set forth below;

   4.        A preliminary injunction restraining and enjoining Mr. Hermalyn as set forth below

             is in the public interest;

   5.        During the six (6) month period prior to February 1, 2024, Mr. Hermalyn performed

             services and/or received Confidential Information (as defined below) concerning

             the following aspects of DraftKings’ business: (i) any fantasy or simulated activity

             or contest where winning outcomes are determined predominantly by accumulated

             statistical results of the performance of individuals in athletic or other events; the
          wining outcome reflects the knowledge and skill of the participant; and a winning

          outcome is not based solely on the performance of a single team or individual

          (hereinafter “FSC”); (ii) games of chance or skill, pari-mutuel, fixed odds, pools or

          otherwise (including, but not limited to, lottery, pari-mutuel betting, bingo, horse

          and dog racing, simulated racing and sporting events, jai alai, sports betting, online

          casino games/iGaming, social casino, poker and keno) whether played for real

          money or cash equivalent, virtual currency, free, or otherwise and any type of

          ancillary service or product related to the foregoing (hereinafter “Gaming”); (iii) the

          digital platform facilitating the purchase and sale of nonfungible tokens and other

          collectibles (hereinafter “Marketplace”); (iv) the sale and distribution of

          nonfungible tokens, collectibles, clothing, accessories, and other apparel

          (hereinafter “eCommerce”); (v) the development, distribution, procurement and

          programming of content offerings in audio and video focused media related to

          sports and/or any aspects of DraftKings’ business, including but not limited to those

          aspects of DraftKings’ business set forth in (i)-(iv) above (hereinafter “Media”).

   6.     Section (g) of the Noncompetition Covenant between Mr. Hermalyn and

          DraftKings dated August 16, 2023 (ECF 1-2, the “Noncompetition Covenant”)

          extends the duration of Mr. Hermalyn’s non-competition obligations as set forth

          therein.

   7.     Pursuant to Section (f) of the Noncompetition Covenant and Section 9 of the

          Confidentiality Agreement between Mr. Hermalyn and DraftKings dated August

          31, 2020 (ECF 1-1, the “Confidentiality Agreement”), the internal substantive laws

          of Massachusetts govern those agreements.

   Upon consideration of the Motion, Memorandum of Law, Affidavits, and Exhibits in

support of the Motion, as well as the above findings, the Court hereby ORDERS that:




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a)   Nondisclosure. Mr. Hermalyn is hereby restrained and enjoined from using or

     disclosing any of DraftKings’ Confidential Information, which is defined as:

     information or compilations of information in any form (tangible or intangible or

     otherwise), that is not generally known to competitors or the public, which

     DraftKings considers to be confidential and/or proprietary, including but not limited

     to: research and development; techniques; methodologies; strategies; product

     information, designs, prototypes and technical specifications; algorithms, source

     codes, object codes, trade secrets or technical data; training materials methods;

     internal policies and procedures; marketing plans and strategies; pricing and cost

     policies; customer, supplier, vendor and partner lists and accounts; customer and

     supplier preferences; contract terms and rates; financial data, information, reports,

     and forecasts; inventions, improvements and other intellectual property; product

     plans or proposed product plans; know-how; designs, processes or formulas;

     software and website applications; computer passwords; market or sales

     information, plans or strategies; business plans, prospects and opportunities

     (including, but not limited to, possible acquisitions or dispositions of businesses or

     facilities); information concerning existing or potential customers, partners or

     vendors, as well as information of or related to DraftKings’ current or potential

     customers, vendors or partners that is considered to be confidential or proprietary

     to the applicable customer, vendor or partner (collectively, “Confidential

     Information”). For the avoidance of doubt, Mr. Hermalyn is not restrained or

     enjoined from using or disclosing DraftKings’ information: (i) in the public domain

     (other than as a result of disclosure by Mr. Hermalyn); (ii) approved in writing for

     unrestricted release by DraftKings; or (iii) produced or disclosed pursuant to a valid

     court order, provided that Mr. Hermalyn has given DraftKings written notice of




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     such request such that DraftKings has an actual, reasonable opportunity to defend,

     limit or protect such production or disclosure.

b)   Preservation. Mr. Hermalyn is hereby restrained and enjoined from moving,

     destroying, deleting, altering, or otherwise disposing of any files, documents, and

     digital media that contain any Confidential Information and/or that are derived from

     such information.

c)   Noncompetition. Mr. Hermalyn is hereby restrained and enjoined for a period of

     twelve (12) months from the date of this Order, acting individually, or as an owner,

     shareholder, partner, employee, contractor, agent or otherwise, from directly or

     indirectly: (1) providing any services to Fanatics, Inc. and Fanatics, Inc.’s

     subsidiaries, affiliates, and joint ventures (individually and together, “Fanatics”)

     relating to FSC, Gaming, Marketplace, eCommerce and/or Media and any type of

     ancillary service or product related to or connected with the foregoing; and/or

     (2) providing any services to Fanatics relating to any other aspect of the Business

     of DraftKings for which Mr. Hermalyn performed services and/or received

     Confidential Information at any time during the six (6) month period prior to

     February 1, 2024; and/or (3) committing a Threatened Breach of the obligations set

     forth in this paragraph.

       i.   “Business of DraftKings” shall mean the research, design, development,

            marketing,    broadcasting,     streaming,   promotion,   sales,   operations,

            maintenance and commercial exploitation pertaining to the operation of, and

            providing products and services for: (1) FSC; (2) Gaming; (3) Marketplace;

            (4) eCommerce; (5) Media; (6) all other products and services that existed,

            were in development, or were under consideration by DraftKings during Mr.

            Hermalyn’s employment with DraftKings (hereinafter “Other Products and




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            Services”); and (7) all products and services incidentally related to, or which

            were an extension, development, or expansion of FSC, Gaming,

            Marketplace, eCommerce, Media or Other Products and Services.

      ii.   “Threatened Breach” shall mean any attempt be Mr. Hermalyn to engage in

            conduct that would breach paragraph (c), (d) or (e) of this Order.

d)   Nonsolicitation of Customers, Clients, Vendors or Partners. Mr. Hermalyn is

     hereby restrained and enjoined for a period of twelve (12) months from the date of

     this Order from, directly or indirectly, either for himself or for any other person,

     partnership, legal entity, or enterprise: (i) soliciting or transacting business, or

     attempting to solicit or transact business with, any of DraftKings’ customers,

     clients, vendors or partners, or with any of DraftKings’ prospective customers,

     clients, vendors or partners about which Mr. Hermalyn learned Confidential

     Information or which Mr. Hermalyn had some involvement or knowledge related

     to any aspect of the Business of DraftKings; and/or (ii) committing a Threatened

     Breach of the obligations set forth in this paragraph.

e)   Nonsolicitation of Employees. Mr. Hermalyn is hereby restrained and enjoined

     for a period of twelve (12) months from the date of this Order from directly or

     indirectly, either for himself or for any other person, partnership, legal entity, or

     enterprise: (i) soliciting, in person or through supervision or control of others, an

     employee, advisor, consultant or contractor of DraftKings for the purpose of

     inducing or encouraging the employee, advisor, consultant or contractor to leave

     his or her relationship with DraftKings or to change an existing business

     relationship to the detriment of DraftKings; (ii) hiring away an employee, advisor,

     consultant or contractor of DraftKings; (iii) helping another person or entity hire




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          away a DraftKings employee, advisor, consultant or contractor; and/or (iv)

          committing a Threatened Breach of the obligations set forth in this paragraph.



       SO ORDERED.

                                    ________________________________________
                                    Judge Julia Kobick

Boston, Massachusetts

Dated: April   , 2024




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